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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS



    U.S. SECURITIES AND EXCHANGE
    COMMISSION,
                       Plaintiff,

         v.
                                                               Case No. 1:21-cv-12088-WGY
    VLADISLAV KLIUSHIN (a/k/a
    VLADISLAV KLYUSHIN), et al.,

                                 Defendants.


          PLAINTIFF’S MOTION TO REOPEN CASE AND LIFT PARTIAL STAY OF
                                  DISCOVERY

              Plaintiff U.S. Securities and Exchange Commission (the “SEC”) respectfully requests

that the Court reopen the above-captioned case that was administratively closed on September

13, 2022 (Dkt. No. 31) and lift the partial stay of discovery entered on June 15, 2022 (Dkt. No.

18). In support of its Motion, the SEC presents the following grounds.

               1.      On December 20, 2021, the SEC filed the Complaint in this matter. Dkt. No.

    1.

               2.      Defendant Vladislav Kliushin waived service and filed an Answer to the

    Complaint on February 22, 2022. See Dkt. Nos. 6, 10. 1

               3.      The Court subsequently granted the SEC’s request for alternative service via

    email on the remaining Defendants, Nikolai Rumiantcev, a/k/a Nikolay Rumyantcev

    (“Rumiantcev”), Mikhail Irzak (“Irzak”), Igor Sladkov (“Sladkov”), and Ivan Yermakov,



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 In light of parallel criminal proceedings, the Court granted the United States Department of
Justice’s motion to intervene and for a partial stay of discovery. Dkt. 18.
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a/k/a Ivan Ermakov (“Yermakov”) (collectively, “Defaulting Defendants”) and deemed the

SEC’s service via email on Defaulting Defendants effective April 21, 2022. Dkt. Nos. 13, 21.

          4.    On July 13, 2022, pursuant to the SEC’s July 6, 2022 request, the Clerk of

Court issued a Notice of Default as to the Defaulting Defendants. Dkt. No. 28.

          5.   That same day, the Court held a status conference, at which the Court

“administratively closed [the case] as of July 30, 2022 pending the outcome of [the]

related criminal matter [United States v. Klyushin, et al., No. 21-cr-10104-PBS (D.

Mass.)],” and ordered that “the case may be reopened upon motion of any party.” Dkt.

No. 27.

          6.   Following the status conference, the Court entered its “Standing Order

Regarding Motions for Default Judgment.” Dkt. No. 29. The Standing Order states that

“appropriate action with respect to this Standing ORDER shall be taken by the moving party

within 30 days of the date of the issuance of this ORDER,” and that if “the moving party

cannot take necessary and appropriate action, that party shall file an affidavit describing the

status of this case and show good cause why necessary and appropriate action with respect to

this Standing ORDER cannot be taken in a timely fashion and further why this case should

remain on the docket.” Id.

          7.   On August 4, 2022, the SEC filed the Affidavit of James P. Connor Regarding

Timing of Motion for Default Judgment (“Affidavit”). Dkt. No. 30. In the Affidavit, counsel

for the SEC explained that the SEC could not file the motion for default judgment as to the

Defaulting Defendants because the case had been administratively closed pending the

outcome of the related criminal matter. Id. Counsel further stated that the SEC would file its

motion for default judgment as to the Defaulting Defendants in accordance with the Standing

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 Order Regarding Motions for Default Judgment within 30 days of the Court’s reopening of

 the matter following the outcome of the related criminal matter. Id.

        8.      On August 13, 2022, the Court entered an Order for Closure, stating:

       In order to avoid the necessity for counsel to appear at periodic status conferences,
       it is hereby ORDERED that the above-entitled action be and hereby is CLOSED
       without entry of judgment. All material statutes of limitation are tolled as of the
       date of the filing of the complaint herein as to all matters raised therein. The case
       may be reopened upon motion by any party demonstrating that the above-entitled
       impediment to trial has been removed. This closure is without prejudice to either
       party moving to restore it to the docket, if any further action is required.

Dkt. No. 31.

        9.      The related criminal matter has reached a resolution, with only the issue of

 restitution deferred until December 5, 2023. Specifically, on February 14, 2023, after a

 twelve-day jury trial, a jury found Defendant Klyushin guilty on each of the four counts

 charged in the Indictment. United States v. Klyushin, et al., No. 21-cr-10104-PBS (D. Mass.)

 at Dkt. No. 203. On September 7, Defendant was sentenced to 9 years imprisonment, with a

 $400 special assessment, no fine, and no supervised release, and final judgment was entered

 on September 11, 2023. Id. at Dkt. No. 252. An order of forfeiture was entered, requiring

 Defendant to forfeit to the United States the sum of $34,065,419.50. Id. at Dkt. No. 252.

 Restitution was deferred until December 5, 2023, with the parties ordered to continue to try to

 reach an agreement and submit briefs on October 20, 2023. Id. at Dkt. Nos. 252, 255.

        10.     In light of the resolution of the related criminal case and anticipated order of

 restitution, the SEC respectfully requests that, once an order of restitution is entered in the




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    criminal case, 2 the Court reopen this case and lift the partial stay of discovery to allow the

    SEC to move forward in pursuing final judgment against Defendants. Specifically, within 30

    days of reopening, the SEC will move for default judgment as to the Defaulting Defendants in

    accordance with the Standing Order Regarding Motions for Default Judgment. Within 60

    days of reopening, the SEC will move for summary judgment against Defendant Klyushin

    based on Defendants’ conviction and final judgment in the related criminal case. If the SEC

    is able to reach an agreement with any of the Defendants prior to these filing dates, it will file

    an update with the Court.

          Accordingly, for the foregoing reasons, the Court should reopen this case to allow the

SEC to file the relevant motions to secure judgments against Defendants. The United States

Department of Justice has confirmed it does not oppose reopening the case and lifting the stay.

The SEC has met and conferred with defense counsel of record for Defendant Kliushin, who

opposes this motion.


Dated: September 15, 2023                         Respectfully submitted,

                                                   /s/ James P. Connor________
                                                  James P. Connor
                                                  Jennifer L. Farer
                                                  U.S. SECURITIES AND EXCHANGE COMMISSION
                                                  100 F Street, N.E., Washington, DC 20549
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                                                  farerj@sec.gov

                                                  Counsel for Plaintiff



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  The SEC’s request to reopen ties to the date an order of restitution is entered in the criminal
case because the issue of restitution in the parallel criminal case is relevant to the terms of the
judgments that the SEC will request in this case.
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                                CERTIFICATE OF SERVICE
       I, James P. Connor, certify that on September 15, 2023, the foregoing was filed using the

Court’s CM/ECF system, which constitutes service upon all registered ECF users, including

counsel for Defendant Vladislav Kliushin. In addition, copies of the foregoing were sent to the

other Defendants at the following email addresses:


                         Defendant                      Email Address

                     Nikolai Rumiantcev                   nr@m13.su

                        Mikhail Irzak                mikka777@yahoo.com

                        Igor Sladkov                   isladkov@mail.ru

                       Ivan Yermakov                 i.s.ermakov@yandex.ru



                                      /s/ James P. Connor
                                     JAMES P. CONONR




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